





















Opinion issued April 28, 2011

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00028-CV

———————————

PATRICIA
REYES-HERNANDEZ, Appellant

V.

STATE OF TEXAS, BEATRICE ZAND,
Appellees



&nbsp;



&nbsp;

On Appeal from the County Civil Court at Law No. 3 

Harris County, Texas



Trial Court Cause No. 964069

&nbsp;



MEMORANDUM OPINION

Appellant has filed a motion to dismiss the
appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Alcala and Bland.





